     Case 2:24-cv-01337-SHD       Document 74        Filed 10/04/24   Page 1 of 3



 1   Kathleen L. Wieneke, Bar #011139
     Christina Retts, Bar #023798
 2   Garrett Griggs, Bar #030525
     WIENEKE LAW GROUP, PLC
 3   1225 West Washington Street, Suite 313
     Tempe, Arizona 85288
 4   Telephone: (602) 715-1868
     Fax: (602) 455-1109
 5   Email: kwieneke@wienekelawgroup.com
     Email: cretts@wienekelawgroup.com
 6   Email: ggriggs@wienekelawgroup.com
 7   Attorneys for Defendants Harris, Navarro,
     Cameron, Adair, Chuey, Goodrich, Freeman,
 8   Thomas, Orr, Brown, and Cost
 9
                            UNITED STATES DISTRICT COURT
10
                                   DISTRICT OF ARIZONA
11
12   Christopher Gagne in his capacity as the          NO. 2:24-cv-01337-DJH
     Personal Representative of the Estate of
13   Shawn Taylor Gagne; Christopher and
     Suzette Gagne, husband and wife, as the          DEFENDANTS’ NOTICE OF
14   surviving parents of decedent Shawn Gagne,       SERVICE OF DISCOVERY

15                       Plaintiffs,

16   vs.

17   City of Mesa, a political subdivision of the
     State of Arizona; Kevin Cost, Chief of Mesa
18   Police Department, individually and in his
     official capacity; Matthew Harris, in his
19   individual capacity and in his capacity as a
     police officer; Kyle Thomas, in his
20   individual capacity and in his capacity as a
     police officer; Shawn Freeman, in his
21   individual capacity and in his capacity as a
     police officer; Matt Brown, in his individual
22   capacity and in his capacity as a police
     officer; Kyle Cameron, in his individual
23   capacity and in his capacity as a police
     officer; Matthew Chuey, in his individual
24   capacity and in his capacity as a police
     officer; Robert Goodrich, in his individual
25   capacity and in his capacity as a police
     officer; Alejandro Navarro, in his individual
26   capacity and in his capacity as a police
     officer; Matthew Adair, in his individual
27   capacity and in his capacity as a police
     officer; Christopher Orr, in his individual
28   capacity and in his capacity as a police
     Case 2:24-cv-01337-SHD         Document 74         Filed 10/04/24   Page 2 of 3



 1    officer; ABC Partnerships I-X; XYZ
      Corporations I-X; John Does I-X and Jane
 2    Does I-X,
                          Defendants.
 3
 4          NOTICE IS HEREBY GIVEN that Defendants Harris, Navarro, Cameron, Adair,

 5   Chuey, Goodrich, Freeman, Thomas, Orr, Brown, and Cost have served their Initial

 6   Disclosure Statement on this date, via electronic mail, to all counsel of record.

 7
 8
            DATED this 4th day of October, 2024.
 9
                                                WIENEKE LAW GROUP, PLC
10
                                        By:     /s/ Christina Retts
11                                              Kathleen L. Wieneke
12                                              Christina Retts
                                                Garrett Griggs
13                                              1225 West Washington Street, Suite 313
                                                Tempe, Arizona 85288
14                                              Attorneys for Defendants Harris, Navarro,
                                                Cameron, Adair, Chuey, Goodrich, Freeman,
15                                              Thomas, Orr, Brown, and Cost
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                    2
     Case 2:24-cv-01337-SHD       Document 74           Filed 10/04/24   Page 3 of 3



 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on October 4, 2024, I electronically transmitted the attached
 3   document to the Clerk's Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the following CM/ECF registrants:
 5
           Zachary Mushkatel
 6         Jordan A. Brunner
           MUSHKATEL, ROBBINS & BECKER, PLLC
 7         15249 North 99th Avenue
 8         Sun City, Arizona 85351-1964
           Attorneys for Plaintiffs
 9
           I hereby certify that on this same date, I served the attached document by U.S. Mail,
10
     postage prepaid, on the following, who is not a registered participant of the CM/ECF
11
     System:
12
           N/A
13
14                                            By:        /s/ Lauren Rasmussen
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                    3
